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U.S.C.A. 3rd. CIR

The United States Court Of Appeals

For The Third Circuit

Gartor Kiki Brown
v. 3 23-1480

Maxwell, et al.

Appellant’s Brief To Motion To Exceed Page Limitation

Appellant Gartor Kiki Brown to whom proceeds’ pro se is the Appellant in this case. Thee
petition the Appellant Court to consider her request to exceed page limitation in this matter.

In simplicity the content and merit of Thee’s appeal would be critical in connection with
Appellant's issue’s presented on appeal; in order to adequately present these issues Thee has surpassed
the Appeilant’s Court page limitation.

Precisely Thee urges fairness, opportunity, in principle Brown mellifluously seeks consideration
in good faith, as Turn to the logistics; there are over (250 Docket) entreés, transcending contents in
exhibits.

The legal issues to whom are complex and meritorious, even assuming Thee could limit her
content; so I consist the issues presented are very serious and that this Court has been so assiduous in
the pass.

we |
Case: 23-1480 Document:31 Page:2 Date Filed: 11/13/2023

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The United States Court Of Appeals

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Appellant’s Motion For Leave To Exceed Page Limitation

Appellant Request leave to file a Brief in excess of seventy-five pages

Appellant request is consistent with courteous demeanor in so recognizing that the Court's time
is precious.

Who so exist complex arguments raining merit.

